                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF WISCONSIN


    GUADALUPE PAREDES,

                           Plaintiff,

    STATE OF WISCONSIN,
    DEPARTMENT OF HEALTH SERVICES,

                           Involuntary Plaintiff,                Civil Action No.
                v.
                                                                 COMPLAINT
    KENOSHA UNIFIED SCHOOL DISTRICT
    NO. I, RON SANDOVAL, SCOTT KENNOW,
    WILLIAM HAITHCOCK, DAVID NAYLOR, and
    KAREN WAMBOLD, each in their individual
    capacities,

                           Defendants.



                                            INTRODUCTION
       I. Plaintiff, Guadalupe Paredes ("Plaintiff'), was a student in the Kenosha Unified School

District No. I ("KUSD") in Kenosha, Wisconsin from Kindergarten until he dropped out of high

school in 2015.

      2. Plaintiff began to experience harassment and bullyingl from classmates in 3rd Grade based

on his failure to conform to sex stereotypes. Later, when Plaintiff understood that he is gay and

when school staff and other students learned that he is gay, he began to experience harassment

from classmates based on sexual orientation and his failure to confonn to sex stereotypes.

      3. The harassment that Plaintiff suffered was so severe that it affected his educational

performance, made him physically sick, caused him to experience suicidal ideation and other




1   Throughout this Complaint, the use of the word "harassment" is intended to include "bullying."



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psychological conditions, resulted in psychiatric hospitalizations, and ultimately caused him to

drop out of high school in II th Grade.

   4. Starting in 3,·d Grade, Plaintiff and his family made repeated complaints to administrators,

stating that Plaintiff was being harassed by multiple students. These administrators failed to take

reasonable steps to protect Plaintiff from the hostile educational environment.

   5. The Defendants have discriminated against Plaintiff on the basis of sex-specifically, his

sexual orientation and failure to conform to sex stereotypes-in violation of Title IX of the

Education Amendments of 1972,20 U.S.C. §1681, et seq., and on the basis of sex in violation of

the Equal Protection Clause of the Fourteenth Amendment to the u.S. Constitution.

                                              PARTIES

   6. Plaintiff Guadalupe Paredes is an adult resident of Kenosha, Wisconsin. He was a student

in the Kenosha Unified School District at all times referenced in this complaint.

   7. Involuntary Plaintiff, State of Wisconsin, Department of Health Services, has

responsibility for oversight and administration of the State's Medicaid program. Upon information

and belief, the Medicaid program paid health claims on behalf of Plaintiff for medical care and

services rendered to him as a result of the incidents which are the subject matter of this action.

Medicaid is entitled to reimbursement for related paid claims if Plaintiff recovers from Defendants

through a settlement or judgment, making it a proper party to this action. Plaintiff asserts no claim

against the State of Wisconsin, its agencies, departments, or employees.

    8. Defendant Kenosha Unified School District No. 1 (KUSD) is a public school district.

KUSD is a recipient offederal funds from the U.S. Department of Education, the U.S. Department

of Agriculture, and the U.S. Department of Health and Human Services and, as such, is subject to




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Title IX of the Education Amendments of 1972, which prohibits sex discrimination against any

person in any education program or activity receiving Federal financial assistance.

    9. Defendant Ron Sandoval is an adult resident of Wisconsin. He was employed by KUSD as

an Assistant Principal at Edward Bain School of Language and Art (EBSOLA) during the time

that Plaintiff was a student there. He is sued in his individual capacity.

    10. Defendant Scott Kennow is an adult resident of Wisconsin. He was employed by KUSD

as Principal of Edward Bain School of Language and Art (EBSOLA) during the time that Plaintiff

was a student there. He is sued in his individual capacity.

    11. Defendant William Haithcock is an adult resident of Wisconsin. He was employed by

KUSD as Principal at Harborside Academy during the time that Plaintiff was a student there. He

is sued in his individual capacity.

    12. Defendant David Naylor is an adult resident of Wisconsin. He was employed by KUSD as

Dean of Students at Harborside Academy during the time that Plaintiff was a student there. He is

sued in his individual capacity.

    13. Defendant Karen Wambold is an adult resident of Wisconsin. She was employed by KUSD

as Dean of Students at Harborside Academy during the time that Plaintiffwas a student there. She

is sued in her individual capacity.


                                   JURISDICTION AND VENUE


    14. This Court has jurisdiction over this matter under 28 U.S.C. §§1331 and 1343(a)(3).

    15. Venue is proper in the Eastern District of Wisconsin under 28 U.S.C. § 1391(b) because the

claims arose in the District, parties reside in the District, and all of the events giving rise to this

action occurred in the District.




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                                               FACTS


    16. Plaintiff Guadalupe Paredes attended schools within the Kenosha Unified School District

(KUSD) at all times referenced in this complaint.

    17. Plaintiff is gay.

    18. This action is being filed prior to Plaintiffs 20th birthday.

    19. During the time that Plaintiff attended KUSD schools, both State and Federal laws required

Wisconsin school districts: (a) to provide an educational environment free of pervasive sexual

harassment; (b) to investigate complaints or incidents of harassment; and (c) to take appropriate

action to protect the affected student from further harassment.

   20. During the time that Plaintiff attended KUSD schools, District policies designated

administrators such as the individual Defendants to receive complaints or reports of harassment,

to investigate those complaints or reports, and to take appropriate action following the

investigation.

   21. During the time that Plaintiff attended KUSD schools, District policies required any staff

person-including administrators-who received a complaint or otherwise became aware of

harassment to investigate each incident and prepare a written record of the investigation.

   22. A request was made of KUSD on Plaintiffs behalf to provide all documents of any kind

regarding him in its possession pursuant to the Wisconsin Public Records Law, Wis. Stats. § 19.35.

KUSD did provide numerous documents regarding Plaintiff, but its Public Records response did

not include any documents referencing investigations or actions taken in connection with the

incidents of harassment described in this complaint.




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    23.2007-2008 School Year - 3rd Grade: Plaintiff attended the Edward Bain School of

Language and Art (EBSOLA). Defendant Scott Kennow was the Principal and Defendant Ron

Sandoval was Assistant Principal.

    24. Plaintiff did not think of himself as gay during 3,d Grade. However, he was not interested

in sports or in wearing athletic clothing like other boys. He often wore bright colors including pink.

    25. During 3,d Grade, various students harassed Plaintiff by calling him "fag" and "gay." They

also physically attacked him.

   26. On two different occasions during 3,d Grade, Plaintiff s mother contacted Sandoval to

complain about the harassment and identified specific students. She told Sandoval that these

students were calling Plaintiff "fag" and "gay." Sandoval told Plaintiffs mother that he would

conduct an investigation and, if appropriate, would do something to stop the harassment.

   27. There is no written record of any investigation into the complaints made by Plaintiffs

mother during this time period.

   28. The harassment continued throughout the remainder of3rd Grade.

   29.2008-2009 School Year -       4th   Grade: Plaintiff remained at EBSOLA. Kennow was still

the Principal and Sandoval was Assistant Principal.

   30. During 4th Grade, various students harassed Plaintiff by calling him "fag" and "gay." They

also physically attacked him.

   31. Plaintiff met with Sandoval approximately ten times during the school year to complain

about harassment and identified specific responsible students. Each time, he told Sandoval that

these students were shoving him or striking him while calling him "gay," "fag," and "faggot."

Each time, Sandoval told Plaintiff that he would do something to stop the harassment. There was

no change in the behavior of the other students following the meetings with Sandoval.



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    32. Twice during    4th   Grade, Plaintiffs mother contacted Sandoval to complain about

harassment. She told him that other students were shoving or striking Plaintiff and calling him

"fag" and "gay." She identified specific responsible students. Defendant Sandoval told Plaintiffs

mother that he would conduct an investigation and, if appropriate, would do something to stop the

harassment. There was no change in the behavior of the other students after Plaintiffs mother

complained to Sandoval.

    33. Following one ofthe harassment incidents during recess, Plaintiff went to the school office

and met with Sandoval. He told Sandoval that once again he had been physically attacked by other

students and called "gay" and "faggot." Plaintiff was crying and requested to stay inside during

recess. Sandoval told him that everyone must go outside during recess and that there would be no

exceptions. Trying to explain how much he was hurting, Plaintiff told Sandoval that he was

attracted to boys but did not want to be bullied or harassed because of that. Sandoval's appearance

and demeanor changed when Plaintiff said he was attracted to boys. Sandoval seemed

uncomfortable and no longer made any eye contact with Plaintiff. He told Plaintiff to go back

outside for recess. On this occasion, Sandoval did not say that he would do something to stop the

harassment.

    34. Shortly after this meeting with Sandoval, Kennow summoned Plaintiff and met with him.

He said that Plaintiff should no longer go to Sandoval with complaints and should contact Kennow

directly because Sandoval did not feel comfortable with Plaintiffs kind.

    35. Plaintifffeit terrible after the meeting with Sandoval. He felt even worse after KelIDOW told

him that Sandoval would not be helping him anymore because he had told Sandoval that he was

attracted to boys.




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    36. There is no written record of any investigation into the complaints made by Plaintiff or his

mother during this time period.

    37. On many Sunday nights during      4th   Grade, Plaintiff felt sick and vomited. He begged his

mother to allow him stay home from school. She was not aware of the seriousness of the

harassment during 4th Grade and usually sent him to school every day.

    38. Plaintiff did contact Kennow several times to complain after their meeting and there would

be somewhat less harassment for a time, but the harassment continued throughout         4th   Grade and

was particularly vicious during the last week of school.

    39.2009-2010 School Year - 5th Grade: Plaintiff remained at EBSOLA. Kennow was still

the Principal and Sandoval was Assistant Principal.

    40. The bullyinglharassment continued during 5th Grade. Various students harassed Plaintiff

by calling him "fag" and "gay." They also physically attacked him.

    41. There was an incident outside the school where students pushed Plaintiff down and kicked

him repeatedly while he was curled up on the ground. He then went into the school. He was crying

and asked a staff person to call his mother.

    42. Plaintiff's mother came to the school following this incident and met with Kennow.

Sandoval was present but did not say anything. Plaintiff's mother identified specific students who

were responsible for the harassment. Kennow's solution was to have Plaintiff follow a prescribed

route that would minimize his contact with the students who were harassing him, and, if that did

not work, then Plaintiff's mother could remove him from school before dismissal time to avoid

those students in the halls. There is no written record of an investigation into this incident.

    43. The harassment continued throughout 5th Grade. After learning that Kennow would not do

anything to stop the perpetrators and that he was expected to solve the problem himself by hiding



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from them, Plaintiff no longer went to Kennow for help. He skipped classes where he would be

harassed. On numerous occasions, Plaintiff hid in various places within the school instead of

attending certain classes so that he could avoid the students who harassed him.

    44. Plaintiff was hospitalized for inpatient psychiatric treatment during January of 201 0; the

harassment was a substantial cause of the hospitalization.

    45.2010-2011 School Year - 6th Grade: EBSOLA served students only through 5th Grade,

and so Plaintiff moved to another KUSD school, Paideia Academy, for 6th Grade.

    46. Most ofthe students who bullied and harassed Plaintiff at EBSOLA also moved to Paideia

and resumed the harassment.

    47. Various student, including one student who was the worst perpetrator of harassment,

cornered Plaintiff in the school restroom and told him that he should kill himselfbecause he is gay.

Plaintiff reported these incidents to the Paideia Principal. These incidents caused Plaintiff to avoid

using the school restroom and to wait until he could go at home.

   48. Various students, including the one specific student, sent messages to Plaintiffs Facebook

page saying that he should kill himself. Plaintiff deleted that Facebook account and started another,

but the same students sent the same message to the new page. Plaintiff s mother reported the

Facebook incidents to the Principal and identified the students.

   49. There is no written record of any investigation into the incidents that Plaintiff and his

mother reported, but apparently the Paideia Principal did something because there was somewhat

less harassment during the remainder of 6th grade. That one specific student remained the worst

perpetrator.




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    50.2011-2012 School Year _7 th Grade: Plaintiff remained at Paideia Academy.

    51. There was another Facebook incident. A student sent Plaintiff a message saying that he

was sick and should kill himself because the world would be better off without him. This was

reported to the Paideia Principal, but the other student was not disciplined. There is no written

record of any investigation.

    52. The same students who had harassed Plaintiff during 6th Grade continued to can Plaintiff

"gay", "fag," and "faggot" during 7th Grade. They continued to comer him in the restroom and so

he continued to avoid the school restrooms. The student who was the worst perpetrator during 6th

Grade continued to be the worst perpetrator during 7th Grade.

    53. Plaintiff felt hopeless because of the continuing harassment. He no longer cared about

himself and his appearance. He stopped showering and started sleeping a great deal.

    54. Summer of 2012: The Paideia Principal knew that her students would be transitioning

because the school was changing and merging with Harborside Academy. The Principal was

concerned about Plaintiff and contacted the administrators at Harborside, Defendants David

Naylor and William Haithcock. The Paideia Principal told them about the past harassment.

    55. Based on the information he received from the Paideia Principal, Naylor arranged for an

older student to serve as a mentor and tutor for the Plaintiff to ease his transition to the new school

program. However, the older student did not want to work with Plaintiff and so Naylor served as

Plaintiff s mentor and tutor during the Summer between 7th Grade and 8th Grade.

   56.2012-2013 School Year - 8th Grade: Paideia Academy merged with Harborside

Academy. Most Paideia Students attended the merged school which was located on the upper

floors of Reuther High School. Defendant William Haithcock was Principal, Defendant David

Naylor was a Dean of Students, and Defendant Karen Wambold was a Dean of Students.



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    57. Plaintiffs mother spoke with both Naylor and Haithcock about the harassment that

Plaintiff had experienced in the past and was reassured that they would address it at Harborside.

    58. The student who had been the worst perpetrator of harassment during 6th and 7th Grades

also attended Harborside. Plaintiff and this student were given similar schedules and were in most

classes together. This student continued to be the worst perpetrator, but other students also

continued to harass Plaintiff.

    59. Plaintiffs mother spoke with Naylor several times about the ongoing harassment and

identified those students. There is no written record of any investigation into these complaints.

    60. During one conversation about the ongoing harassment, Naylor told Plaintiffs mother that

he brought harassment on himself by acting gay and telling other students that he is gay.

    61. Early in 2013, Plaintiff reported to Wambold that he was being bullied by several students,

including the same student who had been the worst perpetrator in previous school years. There is

no written record of any investigation into this complaint.

    62. In February of2013, Plaintiff received text messages from the student who was the worst

perpetrator. That student sent text messages calling Plaintiff a faggot and telling him to kill himself.

Plaintiffs mother and father went to Harborside Academy to complain. They met with Haithcock

and Wambold. They told these administrators about the history of harassment and the recent text

messages from that student. They expressed their concern that students were continuing to harass

Plaintiff. There is no written reCord of any KUSD investigation into their complaints.

    63. The Harborside administrators' response to the text message incident was to assIgn

Plaintiff and the student who exchanged texts with Plaintiff to work on a poster project together

or there would be a 3-day suspension. Plaintiff could not bring himself to work on a project and

be alone with that student. As a result, Plaintiff was ordered to serve a 3-day suspension.



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    64. The harassment continued throughout the year and the student involved in the February

2013 text incident continued to be the worst perpetrator.

    65.2013-2014 School Year - 9th Grade: Plaintiff transferred from Harborside, which was a

separate school program located within Reuther Central High School, and actually attended the

Reuther High School program.

    66. Most ofthe students who had harassed Plaintiff remained at Harborside, which was in the

same building, and he continued to encounter them. Some of these students spread a rumor that

the administrators at Harborside had kicked Plaintiff out because he was gay.

   67. The harassment continued but Plaintiff no longer complained to administrators because he

believed it was hopeless.

   68.2014-2015 School Year _10 th Grade: Plaintiff continued to attend Reuther Central High

School.

   69. The harassment continued during loth Grade but Plaintiff no longer reported it because he

believed it was hopeless.

   70. Plaintiff completed all of his 1st Quarter classes with grades of C, C+, C and B, but his

academic performance declined significantly after that. He failed to complete or get credit in

several classes.

   71. Reuther Central High School staff became concerned about Plaintiff and conducted a

Collaborative Student Intervention meeting on 03/09/2015 to address his academic problems. It

resulted in an Intervention Accommodation Plan to address the academic issues.

   72. Shortly after the Intervention meeting, Plaintiff was hospitalized for inpatient psychiatric

treatment. The years of harassment were a major cause of the hospitalization.




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    73. Plaintiffs academic performance did not improve when he returned to school after the

psychiatric hospitalization. He failed to complete or get any credit for several classes.

    74. 2015-2016 School Year _11th Grade: PlaintifItransferred to Tremper High School in the

hope of getting a fresh start; however, mental health issues prevented him from being successful.

    75. Plaintiff stopped attending school before the end of First Semester during 11 th Grade. He

failed every class and never returned to school. He had only completed about half of the credits

necessary for graduation.

    76. The harassment that occurred during 3rd through lOth Grades was a substantial cause of

Plaintiffs failure to graduate from high school.

    77. The sex-based harassment described above in paragraphs 23 to 76 was severe, pervasive,

and objectively offensive.

    78. The sex-based harassment described above in paragraphs 23 to 76 deprived Plaintiff of

access to the educational opportunities or benefits provided by KUSD.

   79. As a direct result of the hostile educational environment created by Defendants'

deliberately indifferent response to the pervasive harassment described above in paragraphs 23 to

76, Plaintiff has suffered and continues to suffer psychological damage, emotional distress, and

damage to his reputation.

   80. Plaintiff received psychiatric treatment, including medication, and he also received

counseling from numerous professionals regarding the psychological damage he suffered from the

Defendants' actions.

   81. Plaintiff has also suffered the loss of future educational opportunities and future earning

capacity because he did not graduate from high school as a result of the Defendants' actions.




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                                         LEGAL CLAIMS

                                  FIRST CAUSE OF ACTION
                  Violation of Title IX of the Education Amendments of 1972
                         by Defendant Kenosha Unified School District

    81. Title IX of the Education Amendments of 1972 ("Title IX") states:

            No person in the United States shall, on the basis of sex, be excluded from
            participation in, be denied the benefits of, or be subjected to
            discrimination under any education program or activity receiving Federal
            financial assistance.

20 U.S.c. §1681(a); see also 34 C.F.R. §106.31 (Department of Education Title IX regulations);

7 C.F .R. § 15a.31 (Department of Agriculture Title IX regulations); 45 C.F.R. §86.31 (Department

of Health and Human Services regulations). Title IX's prohibitions on sex discrimination extend

to "any academic, extracurricular, research, occupational training, or other education program or

activity operated by a recipient" of Federal funding. 34 C.F.R. §106.31; 7 C.F.R. §15a.3l; 45

C.F.R. §86.31.

    82. Title IX's prohibition on discrimination "on the basis of sex" encompasses discrimination

based on an individual's sexual orientation, including nonconformity to sex-based stereotypes.

    83. Conduct specifically prohibited under Title IX includes, inter alia, treating one person

differently from another in determining whether such person satisfies any requirement or condition

for the provision of such aid, benefit or service; providing different aid, benefits or services in a

different manner; denying any person any such aid, benefit or service; or otherwise subjecting any

person to separate or different rules of behavior, sanctions or other treatment. 34 C.F.R. § 106.31;

7 C.F.R. §15a.31; 45 C.F.R. §86.31.

   84. As a Federal funding recipient, KUSD, including the academic, extracurricular, and other

educational opportunities provided by the KUSD, is subject to Title IX's prohibitions on sex-based

discrimination against any student.

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      85. The sex-based harassment described above in paragraphs 23 to 76 was so severe, pervasive,

and objectively offensive that it deprived Plaintiff of educational opportunities provided by KUSD.

      86. Defendant KUSD had actual knowledge of the harassment described in paragraphs 23 to

76.

      87. Defendant KUSD's failure to respond appropriately to the numerous complaints referenced

III   paragraphs 23 to 76 resulted in Plaintiff, on the basis of his sex, being excluded from

participation in, being denied the benefits of, and being subjected to discrimination in the District's

education program in violation of Title IX.

      88. Defendant KUSD's policies and practices constituted disparate treatment of gay students

and students who do not conform to gender stereotypes.

      89. Plaintiff has been injured as a direct and proximate result of Defendant KUSD's

discriminatory conduct.


                                 SECOND CAUSE OF ACTION
       Violation of 42 U.S.c. §1983 Based on Deprivation of Plaintiff's Rights Under the
      Equal Protection Clause of the Fourteenth Amendment by the Individual Defendants


      90. Under the Equal Protection Clause of the Fourteenth Amendment to the U.S. Constitution,

discrimination on the basis of sex, including sexual orientation and nonconformity to sex-based

stereotypes, is presumptively unconstitutional and is, therefore, subject to heightened scrutiny.

      91. Defendants Sandoval,     Kennow,     Haithcock,    Naylor and Wambold           ("Individual

Defendants") had sufficient power and authority to take remedial action to correct the sex-based

harassment experienced by the Plaintiff.




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    92. The Individual Defendants explicitly and intentionally treated Plaintiff differently on the

basis of sex by failing to implement State laws and KUSD policies regarding complaints and

reports of bullying and harassment that would have protected Plaintiff from ongoing harassment.

    93. The Individual Defendants explicitly and intentionally treated Plaintiff differently on the

basis of sex by failing to take other appropriate steps to protect Plaintiff from ongoing harassment.

    94. The Individual Defendants were deliberately indifferent to the substantial likelihood that

Plaintiff s rights would be violated on the basis of sex by failing to implement State laws and

KUSD policies regarding complaints and reports of bullying and harassment that would have

protected Plaintiff from ongoing harassment.

    95. The Individual Defendants were deliberately indifferent to the substantial likelihood that

Plaintiffs rights would be violated on the basis of sex by failing to take other appropriate steps to

protect Plaintiff from ongoing harassment.

    96. The Individual Defendants' discrimination against Plaintiff is not substantially related to

any important governmental interest and is not rationally related to any legitimate governmental

interest.

    97. All of the Individual Defendants' actions and failures to act were under color of state law.

    98. The Individual Defendants are liable for the violations of Plaintiffs Fourteenth

Amendment rights under 42 U.S.C. §1983.

    99. Plaintiff has been injured as a direct and proximate result of the Individual Defendants'

discriminatory conduct.

  100. All of the Individual Defendants' actions and failures to act were within the scope of their

employment with KUSD, and KUSD is liable for any damages awarded by the Court.

  101. TRIAL BY JURY IS DEMANDED.



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   WHEREFORE. Plaintiff, Guadalupe Paredes, requests judgment as follows:
       A.      Award compensatory damages in an amount that would fully compensate Plaintiff

       for the damages that have been caused by the Defendants' conduct;

       B.      Determine the subrogation rights of Involuntary Plaintiff, State of Wisconsin,

Department of Health Services;

       C.      Award Plaintiff attorneys' fees and costs pursuant to 42   u.s.c. §1988; and
      D.       Order such other and further relief as this Court deems just and equitable.

Dated: September 14, 2018
                                             McNALLY PETERSON, S.C.
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